     Case 4:17-cr-00076-MSD-LRL Document 9 Filed 09/05/17 Page 1 of 2 PageID# 15




                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Newport News Division


UNITED STATES OF AMERICA,

v.                                                    Criminal Case No. 4:17cr76


ELMER EMMANUEL EYCHANER, III,

         Defendant.



                                  ORDER OF DETENTION


         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f) a detention hearing was

held September 5, 2017 for this defendant. The defendant appeared with counsel and freely and

voluntarily waived his right to an immediate detention hearing. The court advised the defendant

of his right to a detention hearing within the procedural requirements of 18 U.S.C. § 3142, and

the effect of his waiver. After inquiry the court determined that his waiver was knowing and

voluntary. Therefore the defendant is ORDERED detained pending trial.

         The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. The defendant

shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of a court of the United States or on request of an attorney for the Government, the person

in charge of the corrections facility shall deliver the defendant to the United States Marshal for

the purpose of an appearance in connection with a court proceeding.
 Case 4:17-cr-00076-MSD-LRL Document 9 Filed 09/05/17 Page 2 of 2 PageID# 16




       The Clerk shall mail or deliver a copy of this order to (i) the United States Attorney, (ii)

the United States Marshal, (iii) the United States Probation Office, and (iv) counsel of record for

Defendant.



                                                       Douglas E. Miller
                                                       United States Magistrate Judge
                                                     DOUGLAS E. MILLER
                                                     UNITED STATES MAGISTRATE JUDGE


Newport News, Virginia

September5, 2017
